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                                                                                                                                     UNITED STATES DISTRICT COURT
                                                                                                                                 IN THE EASTERN DISTRICT OF MICHIGAN
                                                                                                                                          SOUTHERN DIVISION
                                                                                                                       MARK HIGBEE,

                                                                                                                                   Plaintiff,                   Case No. 2:18-cv-13761

                                                                                                                       v.                                       Judge Sean F. Cox
                                                                                                                                                                Magistrate Judge Anthony P. Patti
                                                                                                                       EASTERN MICHIGAN
DYKEMA GOSSETTA PROFESSIONAL LIMITED LIABILITY COMPANY2723 SOUTH STATE STREET, SUITE 400ANN ARBOR, MICHIGAN 48104




                                                                                                                       UNIVERSITY, et al.,

                                                                                                                                   Defendants.



                                                                                                                            REPLY IN SUPPORT OF INDIVIDUAL DEFENDANTS’ MOTION TO
                                                                                                                                    DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(6)




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                                                                                                                       I.    PLAINTIFF IMPROPERLY RELIES ON MATERIALS OUTSIDE OF
                                                                                                                             THE COMPLAINT.
                                                                                                                             Rule 12(b)(6) looks almost solely to the Complaint1 to determine if,

                                                                                                                       assuming the truth of the facts asserted, a claim has been stated as a matter of law.

                                                                                                                       Yet Plaintiff’s Response (“Resp”) goes well beyond the allegations in his

                                                                                                                       Complaint. He attaches two documents – his own new affidavit and the arbitration
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                                                                                                                       Opinion – which he then relies upon. This is wholly improper and they should be

                                                                                                                       ignored.2 In particular, Plaintiff relies heavily on the arbitrator’s opinion, quoting

                                                                                                                       from it, rather than his Complaint, to set out most of his Facts section (Resp, pp. 4-

                                                                                                                       11), and suggesting that the Court defer to the arbitrator’s findings. (Resp, p. 3.)

                                                                                                                       This is improper for many reasons.

                                                                                                                             First, as discussed above, the facts to be considered are those set forth in the

                                                                                                                       Complaint. Second, it is contrary to the agreement of the parties that, as suggested

                                                                                                                       by counsel for Plaintiff at the arbitration, there would be “de novo review of his

                                                                                                                       First Amendment claims in federal court.” (Ex. 5 to Statement of Undisputed

                                                                                                                       Facts, p. 23.) Third, it is contrary to the case Plaintiff himself cites. Becton v.

                                                                                                                       Detroit Terminal of Consol. Freightways, 687 F. 2d 140 (6th Cir. 1982) held that an

                                                                                                                             1
                                                                                                                              Courts “may also consider other materials that are integral to the complaint,
                                                                                                                       are public records, or are otherwise appropriate for judicial notice.” Wyser-Pratte
                                                                                                                       Mgmt. Co. v. Telxon Corp., 413 F.3d 553, 560 (6th Cir. 2005).
                                                                                                                             2
                                                                                                                               Affidavits submitted by a party in connection with a 12(b)(6) motion
                                                                                                                       purportedly to provide factual support, are properly struck or disregarded. Wang v.
                                                                                                                       GM, LLC; 2018 U.S. Dist. LEXIS 10759 (E.D. Mich. Sept. 20, 2018).

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                                                                                                                       arbitrator’s decision regarding contractual rights did not “conclusively answer

                                                                                                                       questions” in a later employment discrimination case, and the district court erred in

                                                                                                                       relying upon the arbitrator’s decision. Finally, the arbitrator’s decision, even if it

                                                                                                                       could be considered, is not binding case law that existed at the time the decision to

                                                                                                                       suspend Plaintiff was made. It is therefore no help to Plaintiff in carrying his
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                                                                                                                       burden to prove Defendants violated a clearly established right.3

                                                                                                                       II.   PLAINTIFF DOES NOT DISPUTE THAT DEFENDANTS ARE
                                                                                                                             ENTITLED TO CLAIM QUALIFIED IMMUNITY.
                                                                                                                             Plaintiff repeatedly misstates Defendants’ argument, claiming Defendants

                                                                                                                       argue that the First Amendment does not protect the comment at issue, and even if

                                                                                                                       it did, Defendants are entitled to immunity. (Resp, pp. 2, 12.) Defendants’

                                                                                                                       argument actually tracks the law of qualified immunity, and is: (1) Defendants are

                                                                                                                       entitled to claim immunity because they are officials of a state agency, sued over

                                                                                                                       their performance of a discretionary function; (2) therefore, the burden of proof

                                                                                                                       shifts to Plaintiff to show that Defendants violated a constitutional right that was

                                                                                                                       clearly established at the time of the action at issue, which Plaintiff cannot do, as

                                                                                                                       there was no clearly established law that (a) his speech was protected, and (b) his
                                                                                                                             3
                                                                                                                              Plaintiff also argues generally that in “many cases”, 12(b)(6) dismissal is
                                                                                                                       not proper as there is inadequate factual development, citing Perry v. McGinnis,
                                                                                                                       209 F.3d 597 (6th Cir. 2000). (Resp., p. 3.) But that case did not involve a motion
                                                                                                                       to dismiss based on qualified immunity, and the district court was criticized for
                                                                                                                       going beyond the pleadings and making findings of fact, which Defendants are not
                                                                                                                       asking this Court to do. Indeed, the Court need not do so, because what exactly
                                                                                                                       was stated in this case is not in question, it was posted on the internet for all to see.

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                                                                                                                       interests outweighed Defendant’s. Defendants’ Motion first showed that the first

                                                                                                                       prong of this test is met, which Plaintiff does not dispute. Therefore, the only

                                                                                                                       question before the Court is whether Plaintiff has met the high burden of

                                                                                                                       overcoming the qualified immunity defense.

                                                                                                                       III.   PLAINTIFF HAS NOT DEMONSTRATED THAT IT IS BEYOND
                                                                                                                              DEBATE THAT DEFENDANTS VIOLATED A CLEARLY
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                                                                                                                              ESTABLISHED FIRST AMENDMENT RIGHT.
                                                                                                                              Once a defendant establishes they are entitled to claim qualified immunity,

                                                                                                                       the burden shifts to the plaintiff to show that the defendant knew or should have

                                                                                                                       known their actions would violate a clearly established right. See, e.g., Wegner v.

                                                                                                                       Covington, 933 F.2d 390, 392 (6th Cir. 1991).

                                                                                                                              Plaintiff cites McCloud v. Testa, 97 F.3d 1536 (6th Cir. 1996) for the

                                                                                                                       premise that qualified immunity applies only if the law is unclear, but not if the

                                                                                                                       facts are. (Resp, p. 21.) Plaintiff is wrong. As the Supreme Court later held, “[t]he

                                                                                                                       protection of qualified immunity applies regardless of whether the government

                                                                                                                       official's error is a mistake of law, a mistake of fact, or a mistake based on mixed

                                                                                                                       questions of law and fact.” Pearson v. Callahan, 555 U.S. 223, 231 (2009).

                                                                                                                              Plaintiff makes this (incorrect) argument as relevant to his intended meaning

                                                                                                                       of the phrase “HNIC”, which he claims Defendants were mistaken about, as it

                                                                                                                       meant “Head Negroes In Charge.” This is a distinction without a difference for

                                                                                                                       purposes of this Motion. It is at least debatable that the “N” in “HNIC” is the “n-


                                                                                                                                                                3
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                                                                                                                       word”, as established by the many cases cited in Defendants’ Brief. (Motion, n. 5.)

                                                                                                                       Thus, the meaning of the term “HNIC” is not clearly established. Defendants’

                                                                                                                       objectively reasonable interpretation that the phrase was one form of derogatory

                                                                                                                       racially-based insult, even if a mistake of fact, does not prevent application of the

                                                                                                                       defense. It is not beyond debate that “HNIC” means “head negro in charge”, and is
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                                                                                                                       okay to say when referring to a colleague, while “head n-word in charge” is not. 4

                                                                                                                             Plaintiff claims he does not have to produce a case directly on point to defeat

                                                                                                                       qualified immunity, citing White v. Pauly, 137 S. Ct. 548 (2017). True, but

                                                                                                                       Plaintiff still has to do much more than his Response does. Pauly states, “existing

                                                                                                                       precedent must have placed the statutory or constitutional question beyond debate.

                                                                                                                       In other words, immunity protects all but the plainly incompetent or those who

                                                                                                                       knowingly violate the law.” 137 S. Ct. at 551 (emphasis added). Plaintiff cites no

                                                                                                                       case law establishing that in suspending him for the comment Defendants

                                                                                                                       knowingly violated the law or were plainly incompetent. Defendants’ motion

                                                                                                                       should be granted.
                                                                                                                             4
                                                                                                                               It is disturbing that Plaintiff takes the position that calling African
                                                                                                                       American members of EMU administration “Head Negros In Charge” is not a
                                                                                                                       racially-based insult. It cannot be disputed that the comment insults members of
                                                                                                                       administration, specifically calling them out by race, which, regardless of the
                                                                                                                       actual term used, is problematic. In addition, the Court can take judicial notice of
                                                                                                                       the fact that in Public Law 114-157, enacted in 2016, the federal government
                                                                                                                       struck certain race-related terms, including “oriental” and “negro”, from federal
                                                                                                                       laws. And Israel v. Insight Pipe Contracting, LP, 2013 U.S. Dist. LEXIS 74379, at
                                                                                                                       *2 (W.D. Pa. May 28, 2013) found the use of the term “negro” to be a “racial
                                                                                                                       ephithet” and “racial slur”.

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                                                                                                                             A. Plaintiff Does Not Show It Was Clearly Established That His
                                                                                                                                Comment Was Protected Speech.

                                                                                                                             To overcome immunity, Plaintiff must show that it was clearly established

                                                                                                                       that he was speaking as a private citizen on a matter of public concern. He cites

                                                                                                                       Rodgers v. Banks 344 F. 3d 587 (6th Cir. 2003), for the premise that his “entire

                                                                                                                       speech does not have to focus on matters of public concern as long as some portion
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                                                                                                                       of the speech does.” (Resp, p. 14.) He then cites Connick v. Myers, 461 U.S. 138

                                                                                                                       (1983), for the premise that racial discrimination is always matter of public

                                                                                                                       concern. Id. But he fails to address the cases cited in Defendants’ Motion that hold

                                                                                                                       that speech, reasonably deemed by an employer to be potentially disruptive, is not

                                                                                                                       protected, even if surrounded by otherwise protected speech. (Motion, pp. 15-18.)

                                                                                                                             Plaintiff also claims that the comment was “about his employer’s failure to

                                                                                                                       handle racial issues properly.” (Resp, p. 23.) This actually hurts his case. As the

                                                                                                                       Motion also showed, when the speech is to claim incompetence or poor decision

                                                                                                                       making by an employer, it is not on a matter of public concern. (Motion, p. 17.)

                                                                                                                       Nor does Plaintiff cite any case that would support the idea that the use of the term

                                                                                                                       “HNIC” (regardless of what “n” one is referring to), which is the precise speech at

                                                                                                                       issue, is a matter of public concern. And Plaintiff cites no case in which speech

                                                                                                                       similar to the post, made under similar circumstances, was held to constitute

                                                                                                                       speech made as a private citizen speaking on a matter of public concern such that

                                                                                                                       Defendants should have known the speech was protected.

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                                                                                                                              B. Plaintiff Does Not Show It Was Clearly Established That Under the
                                                                                                                                 Pickering Balance Test, EMU Was Not Justified In Disciplining Him.

                                                                                                                              Even if the Court finds Plaintiff has shown that the law is clearly established

                                                                                                                        that he was speaking as a private citizen on a matter of public concern, he also

                                                                                                                        needs to show that it was clearly established that, when the balancing test of

                                                                                                                        Pickering v. Bd. of Educ., 391 U.S. 563 (1968) is applied, Defendants should have
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                                                                                                                        known they were acting improperly. He has not done this either.

                                                                                                                              Plaintiff relies on Pickering and Garcetti v. Ceballos, 547 U.S. 410 (2006).

                                                                                                                        (Resp, pp. 21-22.) But in neither case did the plaintiff negatively refer to

                                                                                                                        coworkers using race-based terms.5 Likewise, while Plaintiff is correct that Victor

                                                                                                                        v. McElveen, 150 F.3d 451 (5th Cir. 1998) – not binding precedent on this Court –

                                                                                                                        noted that an employee should not be retaliated against for commenting on racially

                                                                                                                        discriminatory practices, that plaintiff also did not negatively refer to minority

                                                                                                                        coworkers. In sum, here too, Plaintiff cites no case that shows it was “clearly

                                                                                                                        established” that suspending Plaintiff was a violation of the balancing test. The

                                                                                                                        “particular conduct” of the parties in the cases on which Plaintiff relies is not even

                                                                                                                        close to the conduct here. Mullenix v. Luna, 136 S. Ct. 305, 308 (2015).




                                                                                                                              5
                                                                                                                                Plaintiff suggests that professors may have more leeway when it comes to
                                                                                                                        speech issues. (Resp., p. 16, n. 18.) He then acknowledges this may be limited to
                                                                                                                        speech in the scholarship and teaching context. Yet Plaintiff makes much of the
                                                                                                                        fact that his comments were not part of his teaching duties.

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                                                                                                                              Finally, Plaintiff argues that Defendants produced no evidence of disruption

                                                                                                                        in the workplace. (Resp, p. 20.) Defendants do not need to – an employer is

                                                                                                                        justified in disciplining an employee based on a reasonable prediction of potential

                                                                                                                        disruption based on the speech. Connick, 461 U.S. at 152. And Defendants cited

                                                                                                                        many cases in which it was found reasonable for an employer to determine that
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                                                                                                                        insulting comments about a co-worker could interfere with the functioning of the

                                                                                                                        workplace and thus, disciplinary action was warranted, even if the speech was

                                                                                                                        protected. (Motion, pp. 19-24.) The fact that these cases exist make the question at

                                                                                                                        least debatable, and thus, not clearly established law.6

                                                                                                                                                              CONCLUSION

                                                                                                                              Counts III-XVII should be dismissed for failure to state a claim under 42

                                                                                                                        U.S.C. § 1983.

                                                                                                                                                                         Respectfully submitted,
                                                                                                                                                                         DYKEMA GOSSETT PLLC

                                                                                                                                                                       By: /s/Jill M. Wheaton
                                                                                                                                                                          Jill M. Wheaton (P49921)




                                                                                                                              6
                                                                                                                                 Plaintiff also argues repeatedly that he did not work closely with the
                                                                                                                        Individual Defendants. (Resp., pp. 7, 20.) That means nothing, as he cannot dispute
                                                                                                                        that they were all his superiors and members of the administration at his place of
                                                                                                                        employment. Plaintiff also never addresses the disruption Defendants could have
                                                                                                                        reasonably concluded his comment could cause on his co-workers, students, and
                                                                                                                        prospective students.
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DYKEMA GOSSETTA PROFESSIONAL LIMITED LIABILITY COMPANY2723 SOUTH STATE STREET, SUITE 400ANN ARBOR, MICHIGAN 48104




                                                                                                                        Dated: March 25, 2019




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                                                                                                                                                         CERTIFICATE OF SERVICE
                                                                                                                                 I hereby certify that on March 25, 2019, I electronically filed the foregoing

                                                                                                                        paper with the Clerk of the Court using the ECF system which will send

                                                                                                                        notification of such filing to all ECF participants.

                                                                                                                                                                          Respectfully submitted,
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